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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Keith Snyder, et al.
                                    Plaintiff,
v.                                                   Case No.: 1:14−cv−08461
                                                     Honorable Matthew F. Kennelly
Ocwen Loan Servicing LLC
                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, January 17, 2019:


       MINUTE entry before the Honorable Matthew F. Kennelly: Fairness hearing and
motion hearing held on 1/17/2019. Motion for extension of time [347], motion to file
excess pages [351], and motion for approval of first amendment to settlement agreement
[350] are granted to the extent stated in open court. Proposed order regarding settlement
agreement to be submitted to Judge Kennelly's proposed order email address by
1/24/2019. Mailed notice. (pjg, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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